Criminal Case Cover Sheet

Case 1:20-mj-00312-JFA Document 4 Filed 11/16/20 Page 1 of 1 PagelD# 35

Place of Offense:

City:

County:

 

 

FILED: |REDACTED

U.S. District Court

 

 

[_] Under Seal

 

Arlington, VA

Superseding Indictment:

 

 

Arlington County

 

Same Defendant:

 

 

Defendant Information:

Defendant Name:|Matthew Erausquin Alias(es):|Matt Hammond [_] Juvenile FBI No,
Address: XXXXXXXXXXXXX, Arlington, VA 22201

Employment: Consumer Litigation Associates

Birth Date: |x/xx/1975 SSN: |XXXXXXXXX Sex: |Male Race:|}Caucasian Nationality:
Place of Birth: Height: Weight: Hair: }dark Eyes:|brown Scars/Tattoos:

[_] Interpreter Language/Dialect:

 

Judge Assigned:

 

 

 

Criminal No.

 

 

 

 

New Defendant:

 

 

 

Magistrate Judge Case No.}1-20-MJ-312-JFA

Search Warrant Case No.

 

 

 

 

Arraignment Date:

 

 

 

 

 

R. 20/R. 40 From:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Location/Status:

Arrest Date:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(_] Already in Federal C

 

 

[_] Already in State Custody

[_] Arrest Warrant Requested

[_] Arrest Warrant Pending

Defense Counsel Information:

Name:

Address:

Phone:

[_] On Pretrial Release
(_] Fugitive

Detention Sought

 

 

 

 

 

 

 

 

U.S. Attorney Information:

 

Auto Description:

 

 

 

 

 

ustody as of:

 

 

 

 

 

 

 

[_] Not in Custody

[_] Summons Requested

 

[_] Bond

 

 

[_] Court Appointed
[_] Retained

[_] Public Defender

 

 

 

Counsel Conflicts: |Federal Public Defender's Office

 

 

 

 

Jennifer Leffler

 

Federal Public Conflicted Out

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

AUSA(s): |Maureen C, Cain Phone: |703-299-3892 Bar No. PA 92152
Complainant Agency - Address & Phone No. or Person & Title:
Detective Chris Rekas
U.S.C, Citations: Code/Section Offense Charged Count(s) Capital/Felony/Misd./Petty
Set 1: 18 USC 1591 Sex Trafficking of Minors 1 Felony
Set 2:
Ais
Date: November 16, 2020 AUSA Signature: Vy \} ALD NV (QM may be continued on reverse

 

 

 

 

 

 
